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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
                                  WESTERN DIVISION

                                                              CIVIL ACTION NUMBER
                                                                  3:23-CV-30093-MGM

STEPHEN D. WOODBRIDGE,                       )
and                                          )
ROBERTA BROWNING                             )
                    Plaintiffs,              )
                                             )
                      v.                     )
                                             )
CITY OF GREENFIELD,                          )
                                             )
                              Defendant.     )              Dated: June 25, 2024


  JOINT MOTION TO STAY ALL PRETRIAL DEADLINES AND CONTINUE THE
 LOCAL RULE 16.1 SCHEDULING CONFERENCE TO THE LAST WEEK OF JULY

       NOW COME, the Plaintiffs and the Defendant in the above-entitled action and respectfully
request that the Court temporarily stay all pretrial deadlines and continue the Local Rule 16.1
scheduling conference from June 28, 2024 to the last week of July 2024.

       As grounds for this Joint Motion, the Parties assert the following:

       (1)    The Parties have been making progress in settlement discussions and have agreed
              to promptly exchange information between now and during July to enable each
              Party to make an informed decision with regard to entering into settlement of this
              litigation. Such information includes details concerning the costs that the City
              asserts it incurred in connection with foreclosing on the Plaintiffs’ respective
              properties and details concerning the process leading to the sale of one of the
              properties at issue in this litigation.

       (2)    The Parties believe that a brief stay of pretrial deadlines and postponement of the
              Scheduling Conference by approximately a month, as requested, will greatly
              facilitate settlement discussions and may avoid the need for a further scheduling
              conference with the Court to implement a pre-trial schedule.

       (3)     Should this joint Motion be allowed, the Parties agree to inform the Court, prior to
              the last week in July, concerning the status of settlement. Should their settlement
              discussions between now and the end of July reach an impasse, the Parties agree to
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              so inform the Court and submit a Local Rule 16.1(D) Joint Statement in advance of
              the rescheduled scheduling conference.

       (4)    The Parties respectfully request that, if this Joint Motion is allowed, the rescheduled
              scheduling conference be held by remote means or by telephone.

WHEREFORE, the Parties respectfully request that this Joint Motion be granted.

Respectfully Submitted,                              Respectfully Submitted,
Plaintiffs                                           Defendant
STEPHEN D. WOODBRIDGE and                            CITY OF GREENFIELD
ROBERTA BROWNING

By Their Attorneys,                                  By its Attorneys,

/s/ Michael Aleo                                     /s/ Gordon D. Quinn
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                                CERTIFICATE OF SERVICE

      I hereby certify that on this 25th day of June, 2024, I electronically filed the JOINT
MOTION TO STAY ALL PRETRIAL DEADLINES AND CONTINUE THE LOCAL RULE 16.1
SCHEDULING CONFERENCE TO THE LAST WEEK OF JULY with the Clerk of Court using
the CM/ECF system and same will be served, while effectuating service upon the Parties to:

Michael Aleo, Esq.
Thomas Lesser
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                                                     /s/ Gordon D. Quinn
                                                     Gordon D. Quinn, Esq.



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